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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

                                                     §
    IN RE:                                           §       CASE NO: 17-12870
                                                     §
    REILLY-BENTON COMPANY, INC.,                     §       CHAPTER 7
                                                     §
    DEBTOR.                                          §       SECTION A
                                                     §

                                                  ORDER

           Before the Court is the Ex Parte Motion for Leave To File Omnibus Reply to Oppositions

   to Joint Motion for Partial Summary Judgment (the “Motion”), [ECF Doc. 385], filed by the David

   Adler, the Chapter 7 Trustee and the Louisiana Insurance Guaranty Association.

           Considering the record and pleadings, the applicable law, and finding good cause,

           IT IS ORDERED that the Motion is GRANTED.

           IT IS FURTHER ORDERED that the Clerk shall file the Reply as attached to the Motion

   into the record.

           IT IS FURTHER ORDERED that Movant shall serve this Order on the required parties

   who will not receive a copy through the ECF system pursuant to the FRBP and the LBRs and file

   a certificate of service to that effect within three (3) days.

           New Orleans, Louisiana, December 5, 2022.



                                                          _____________________________________
                                                                  MEREDITH S. GRABILL
                                                           UNITED STATES BANKRUPTCY JUDGE
